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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:13CR244
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
LUIS MEZA-GALVEZ,                                            )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Luis Meza-Galvez
(Meza-Galvez) (Filing No. 59). Meza-Galvez seeks until July 29, 2013, in which to file pretrial motions in
accordance with the progression order. Meza-Galvez's counsel represents that government's counsel has no
objection to the motion. Upon consideration, the motion will be granted.


        IT IS ORDERED:
        Defendant Meza-Galvez's motion for an extension of time (Filing No. 59) is granted. Meza-Galvez is
given until on or before July 29, 2013, in which to file pretrial motions pursuant to the progression order. The
ends of justice have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between July 16, 2013, and July 29, 2013, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 16th day of July, 2013.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
